                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                     AT KNOXVILLE

 CATHERINE S. DEBAKKER,                            )
                                                   )
               Plaintiff,                          )
                                                   )
 v.                                                )      No.:    3:08-CV-11
                                                   )              (VARLAN/SHIRLEY)
 HANGER PROSTHETICS & ORTHOTICS                    )
 EAST, INC. and MARK G. TURNER,                    )
                                                   )
               Defendants.                         )


                                           ORDER

        This civil action is before the Court on plaintiff’s Motion to Strike [Doc. 34].

 Defendant Hanger Prosthetics & Orthotics East, Inc. (“Defendant Hanger”) has responded

 [Doc. 37], and plaintiff has filed a reply [Doc. 38]. Plaintiff’s motion to strike is now ripe

 for the Court’s consideration.

 I.     Background

        Plaintiff filed a complaint against Defendant Hanger and Mark G. Turner in the

 Circuit Court for Anderson County, Tennessee [Doc. 1-1], which Defendant Hanger timely

 removed to this Court [Doc. 1].

        Plaintiff filed a Motion to Strike [Doc. 4] and a Brief in Support of Motion to Strike

 [Doc. 5] asserting that the portions of Defendant Hanger’s answer alleging fault against

 unidentified nonparties should be stricken under Brown v. Wal-Mart Discount Cities, 12

 S.W.3d 785 (Tenn. 2000). Defendant Hanger’s response [Doc. 8] asserts that plaintiff’s

 motion to strike was untimely, and that this case was controlled not by Brown, but by Snyder


Case 3:08-cv-00011-TAV-CCS         Document 104        Filed 09/30/09    Page 1 of 9    PageID
                                         #: 1282
 v. LTG Lufttechnische GmbH, 955 S.W.2d 252 (Tenn. 1997), which defendant contended

 permits allegations against nonparties in products liability cases. Plaintiff filed a reply [Doc.

 9] acknowledging the untimeliness of the motion to strike, but noting that the Court retained

 authority to strike defective defenses at any time, and arguing that Brown distinguished

 Snyder. The Court previously denied plaintiff’s motion to strike as untimely, but struck the

 allegations against unidentified nonparties in Defendant Hanger’s answer upon the Court’s

 own consideration of those allegations [Doc. 13].1

        Plaintiff filed a Motion to Amend Complaint [Doc. 21] requesting permission to

 “amend paragraphs four and six of her complaint to more accurately reflect the time frame

 of her receipt of her leg braces that are the subject of this lawsuit,” and to “increase her ad

 damnum” because she “has not been able to return to work as a result of the subject accident,

 and her treating physicians do not now expect that she will be able to return.” The Court

 granted plaintiff’s motion [Doc. 23], and plaintiff filed an Amended Complaint [Doc. 25],

 to which Defendant Hanger has filed an answer [Doc. 31].

        Plaintiff filed a second Motion to Strike [Doc. 34] and Brief in Support of Motion to

 Strike [Doc. 35], asserting that the portions of Defendant Hanger’s answer to plaintiff’s

 amended complaint alleging fault against unidentified nonparties, and alleging negligence




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          Noting that defendant Turner had filed an answer alleging the same defenses to which
 plaintiff objected, the Court struck those allegations from defendant Turner’s answer as well.

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Case 3:08-cv-00011-TAV-CCS          Document 104        Filed 09/30/09     Page 2 of 9     PageID
                                          #: 1283
 and fault on the part of plaintiff’s employer, should be stricken.2 Defendant Hanger filed a

 Response in Opposition to Plaintiff’s Motion to Strike [Doc. 37] on March 3, 2009, arguing

 that:

         (1)    Defendant Hanger included a general allegation of comparative fault only to
                put plaintiff on notice that third-party tortfeasors may exist and that Defendant
                Hanger might formally allege fault against them if and when they are
                identified during the discovery process;

         (2)    Reference to “acts of third persons” in paragraph 34 of its answer relates to its
                defense of intervening and superseding cause, which is a viable defense in
                negligence and other actions; and

         (3)    Defendant Hanger did not allege that plaintiff’s employer was at fault in
                causing the injuries alleged in the Complaint.

 Plaintiff filed a Reply to Defendant’s Response to Motion to Strike [Doc. 38] reasserting its

 argument that Defendant Hanger’s allegations of comparative fault against nonparties were

 insufficient as a matter of law.

         The Court has carefully considered the pending motion, memorandum, response,

 reply, and pleadings in light of the applicable law. For the reasons set forth herein, plaintiff’s

 motion will be granted.

 II.     Standard of Review

         Federal Rule of Civil Procedure 12(f) provides that the court may, on its own or upon

 the motion of a party, “strike from a pleading an insufficient defense or any redundant,



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          The Court notes that since the filing of plaintiff’s motion to strike, defendant Turner has
 filed an Answer to Amended Complaint [Doc. 39] raising the same defenses as those in defendant
 Hanger’s answer to which plaintiff objects.

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Case 3:08-cv-00011-TAV-CCS           Document 104        Filed 09/30/09      Page 3 of 9      PageID
                                           #: 1284
 immaterial, impertinent, or scandalous matter.” Fed. R. Civ. P. 12(f). It is well settled that

 motions to strike are disfavored and should be granted only when “the allegations being

 challenged are so unrelated to the plaintiff’s claims as to be unworthy of any consideration

 as a defense and that their presence in the pleading throughout the proceeding will be

 prejudicial to the moving party.” 5A CHARLES A. WRIGHT & ARTHUR R. MILLER, FEDERAL

 PRACTICE AND PROCEDURE § 1380 (2d ed. 1990). Striking a pleading is considered “a drastic

 remedy to be resorted to only when required for the purposes of justice,” and it “should be

 sparingly used by the courts.” Brown & Williamson Tobacco Corp. v. United States, 201

 F.2d 819, 822 (6th Cir. 1953). A motion to strike should be granted “only when the pleading

 to be striken [sic] has no possible relation to the controversy.” Id. Mindful of these

 principles, this Court proceeds cautiously in reviewing a motion to strike.

        When a federal court exercises diversity jurisdiction, it is axiomatic that the court

 must apply the substantive law of the forum state. Erie R.R. Co. v. Tompkins, 304 U.S. 64,

 78 (1938). The Court thus applies the substantive law of Tennessee in resolving the merits

 of this case.

 III.   Analysis

        Plaintiff has moved to strike two portions of Defendant Hanger’s answer: that portion

 alleging fault against unidentified nonparties, and that portion alleging negligence and fault

 against plaintiff’s employer. The Court addresses each portion in turn.




                                               4


Case 3:08-cv-00011-TAV-CCS         Document 104       Filed 09/30/09     Page 4 of 9    PageID
                                         #: 1285
        A.     Allegations of Fault Against Unidentified Nonparties

        Plaintiff has moved to strike the portions of paragraph 33 in Defendant Hanger’s

 answer to plaintiff’s amended complaint that refer to “acts of third persons” and proximate

 causation brought about by unidentified nonparties [Docs. 34, 35]. Plaintiff also moved to

 strike paragraph 34 of Defendant Hanger’s answer to the amended complaint [Docs. 34, 35],

 which purports to preserve a comparative fault defense by asserting “acts of third persons”

 as a bar to plaintiff’s claim “to the extent proven applicable through subsequent discovery

 and investigation” [Doc. 31]. Finally, plaintiff has moved to strike paragraph 35 of

 Defendant Hanger’s answer to the amended complaint [Docs. 34, 35], which explicitly

 asserts a comparative fault defense [Doc. 31].

        Defendant Hanger responds that it included these “general allegation[s] of

 comparative fault so that [p]laintiff would be on notice that potential third-party tortfeasors

 might exist,” and that Defendant Hanger “will move to formally allege the fault of those

 third-party tortfeasors if and when they are identified through the discovery process or

 investigation” [Doc. 37]. Defendant Hanger further argues that the challenged language in

 paragraphs 33 and 34 of its answer “assert the defense . . . of intervening/superseding cause,

 which, if revealed through the discovery process, would be the act of a third person” [Doc.

 37].

        The Court previously addressed this issue in its order when it struck language from

 Defendant Hanger’s answer attributing fault to unidentified nonparties that is nearly identical



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Case 3:08-cv-00011-TAV-CCS         Document 104        Filed 09/30/09    Page 5 of 9     PageID
                                         #: 1286
 to the language from Defendant Hanger’s previous answer [Doc. 13].3 In so ruling, this

 Court relied on the holding in Brown that “unless [a] nonparty is identified sufficiently to

 allow the plaintiff to plead and serve process on such a person . . . the trial court should not

 permit the attribution of fault to the nonparty.” Brown, 12 S.W.3d at 788. This holding is

 just as applicable today as it was when Defendant Hanger filed its answer to plaintiff’s initial

 complaint. Accordingly, Defendant Hanger’s allegations of fault on the part of unidentified

 nonparties are not proper, and should be stricken from Defendant Hanger’s answer to

 plaintiff’s amended complaint.4




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          Compare paragraph 35 of Defendant Hanger’s answer to plaintiff’s amended complaint
 [Doc. 31] with paragraph 12 of Defendant Hanger’s answer to plaintiff’s original complaint [Doc.
 3]. Paragraph 35 is identical to paragraph 12, except that plaintiff has added the following language
 to paragraph 35: “This Defendant relies on the doctrine of comparative fault as adopted by the
 Tennessee Supreme Court in McIntyre v. Balentine, 833 S.W.2d 52 (Tenn. 1992), and avers that
 Plaintiffs’ [sic] alleged injuries were caused or contributed to by factors other than the allegations
 made against this Defendant,” and “including but not limited to the plaintiff in the event the jury
 determines [plaintiff] was not using her brace properly or otherwise failed to take reasonable
 measures to prevent the fall” [Doc. 31]. This language simply elaborates on Defendant Hanger’s
 comparative fault defense.
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          Defendant Hanger’s argument that its “intent as to third-party tortfeasors in Paragraph 35
 of its Answer was only to notify [p]laintiff of this defense and of Hanger’s intent to pursue it” [Doc.
 37] is unavailing. As plaintiff correctly points out, providing notice that a defense might be raised
 is tantamount to providing no notice at all. If Defendant Hanger later wishes to amend its answer
 to raise this stricken defense based upon its findings during the discovery process, it may file a
 motion at that time.
         In addition, Defendant Hanger is correct in arguing that a defendant can and should plead
 the affirmative defense of intervening and superseding cause if he intends to raise it at trial, see
 Godbee v. Dimick, 213 S.W.3d 865, 883 (Tenn. Ct. App. 2006). The mere fact that a defendant
 pleads this defense, however, does not relieve him of the requirement that he identify the party
 whose actions give rise to the alleged intervening and superseding cause, see Brown, 12 S.W.3d at
 788.

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Case 3:08-cv-00011-TAV-CCS            Document 104         Filed 09/30/09       Page 6 of 9      PageID
                                            #: 1287
        B.     Allegations of Negligence and Fault Against Plaintiff’s Employer

        Plaintiff has also moved to strike paragraph 37 of Defendant Hanger’s answer to the

 amended complaint. This paragraph provides, in full, that:

        With respect to whatever portion, if any, of the damages sought herein
        represents workers’ compensation or similar benefits paid to the Plaintiff, this
        Defendant avers that her employer was guilty of negligence or fault which
        proximately caused the injuries and damages alleged in the Complaint and
        such employer, or its insurer, should not recover any of such benefits by way
        of subrogation because of such negligence or fault.

 [Doc. 31]. Plaintiff contends that this language should be stricken under Troup v. Fischer

 Steel Corp., 236 S.W.3d 143, 144, 151 (Tenn. 2007), which held that a defendant may not

 allege the comparative fault of a plaintiff’s employer who is covered under the Workers’

 Compensation Law. Defendant Hanger responds that plaintiff misapprehends the purpose

 of paragraph 37, which is not to allege fault on the part of plaintiff’s employer, but instead

 to prevent plaintiff’s employer from seeking subrogation of any worker’s compensation

 benefits paid to plaintiff to the extent that plaintiff’s employer was negligent or otherwise

 caused the injuries and damages alleged by plaintiff [Doc. 37].

        Plaintiff is correct in asserting that, under Troup, a defendant may not argue the

 comparative fault of a plaintiff’s employer who is covered under the Workers’ Compensation

 Law [See Docs. 34 and 35]. Defendant Hanger is also correct in asserting that, under Troup,

 a defendant may argue that a plaintiff’s employer was the sole cause-in-fact of plaintiff’s

 injuries [See Doc. 37]. Defendant Hanger is not correct, however, in asserting that plaintiff’s

 “employer should not be allowed to seek subrogation of [Workers’ Compensation] benefits


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Case 3:08-cv-00011-TAV-CCS         Document 104        Filed 09/30/09    Page 7 of 9       PageID
                                         #: 1288
 to the extent [p]laintiff’s employer was negligent or otherwise caused the injuries and

 damages alleged by [p]laintiff” [Doc. 37]. Nor is it proper for Defendant Hanger, by this

 paragraph, to attempt to “eliminate [p]laintiff’s employer’s right to seek subrogation to the

 extent it is at fault” [Doc. 37].

        First, “the issue of fault plays no part whatsoever in assessing liability for a workers’

 compensation claim.” Curtis v. G.E. Capital Modular Space, 155 S.W.3d 877, 884 (Tenn.

 2005). In other words, it is erroneous, as a threshold matter, for defendant Hanger to suggest

 that plaintiff’s employer could ever be “at fault” under the Workers’ Compensation scheme,

 as defendant does in paragraph 37 of its answer to plaintiff’s amended complaint. Second,

 Tennessee Workers’ Compensation Law provides explicitly, and without the limitation

 defendant Hanger asserts, for the right of an employer to recover against a third party by way

 of a subrogation lien:

        In the event of a recovery against [a] third person by the [plaintiff] . . . and the
        employer’s maximum liability for workers’ compensation . . . has been fully
        or partially paid and discharged, the employer shall have a subrogation lien
        against the recovery, and the employer may intervene in any action to protect
        and enforce the lien.

 Tenn. Code Ann. § 50-6-112(c)(1). Paragraph 37 of defendant Hanger’s answer to the

 amended complaint thus asserts an affirmative defense that is prohibited by Tennessee

 statutory law and case law. Moreover, by conflating potential workers’ compensation claims

 with the negligence and strict liability claims plaintiff raised in her complaint, this defense

 confuses the issues in the case, see FDIC v. Berry, 659 F. Supp. 1475, 1478 (E.D. Tenn.



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Case 3:08-cv-00011-TAV-CCS           Document 104       Filed 09/30/09      Page 8 of 9        PageID
                                           #: 1289
 1987). Accordingly, defendant Hanger’s allegations in paragraph 37 of its answer to

 plaintiff’s amended complaint are not proper, and should be stricken.

 IV.   Conclusion

       For the reasons stated herein, plaintiff’s motion to strike [Doc. 34] is hereby

 GRANTED. It is ORDERED that all allegations of fault against unidentified nonparties,

 and allegations of negligence and fault against plaintiff’s employer, in both defendant

 Hanger’s answer [Doc. 31] and defendant Turner’s answer [Doc. 39], are hereby

 STRICKEN.

       IT IS SO ORDERED.



                                          s/ Thomas A. Varlan
                                          UNITED STATES DISTRICT JUDGE




                                             9


Case 3:08-cv-00011-TAV-CCS        Document 104      Filed 09/30/09       Page 9 of 9   PageID
                                        #: 1290
